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Donald Tamp,eW., and
    Ddaft.                                                                          RECEIVED
Capentier /Mays                                                                        JAN 212025
                                                                                  US DISTRICT COURT
                         ---

                         MOTION TO CURE AND WAIVE FHJNG DEFECT
       Comes now Jon Hall, the plaintiff / petitioner, to show cause to cure the filing defect in this
matter and request that the Middle District Court transfer the records / mail submitted by Sierra Colwell      _   V
delivered at the Middle District of Tennessee Court at 719 Church Street, Suite 1300 Nashville
Tennessee 37203, on September 5, 2024 weighing) lb. 7 ounces. In support of this motion, WEAR
requests that the date filing mail be transferred to the Western District Court, to be treated as a timely
nune pro tune filed Motion to Reopen Federal Habeas Corpus under Thompson v. Bell, 373 F.3d 688,
733 (M.D. Tn. 2005) (Fraud on the Court- supplement the record);
        1.The mail in question was sent to the plaintiff / petitioner's sister, and -is the subjectmatter of
TDOC grievance # 24-0239/00367429, that was submitted in Hall v. Tnunp-, 3:19-ev-00628,
Document # 1613., PageiD # 1974-1977.
        2. The reason the i lb. 7 ounce mail was sent to the plaintiff / petitioner's sister- is for several
reasons: (1) to gain legal help with a difficult matter in a_capitol case; (2)_A-technical malfunction with
Mr. Hall's word-processor; and (3) Mr. Hall was unjustly locked-down (a condition of confinement in
which ;is before the Nashville Court at present).
       3. Mr. Hall's court appointed counsel in the. Federal Habeas Corpus action, has_ a personal _
interest in the case and will not assist Mr. Mall with re-opening his Federal Habeas Corpus, due to the
underlying inherent personal conflict of interest in raising said claims. SEE: Hall v. Trump-, 3:19-cv-
00628, Document # 1.53-1, PagelD # 1776 (Justification defense).
       WHEREFORE, Mr. Hail requests that the two courts work out the transfer of timely filed mail
records, filed in the wrong court, because Mr. Hall had to rely upon a third party (family members) to
get the Motion to Reopen filed 9/5/24, and Mr. Hall just got notice of the record being filed on January
03, 2025 in the wrong court (Tracking number E1935593215US). See attached: affidavit of Jon Hail
regarding filing in wrong court, and notice by Christmas Card.


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                                       Respectfully Submitted,

                                                   I
                                                            f,


                                    Jo' Dougl Hall # 238941
                                      R.M.S.i. Unit 2, B-110
                                     7475 Cockrill Bend Blvd.
                                  Nashville, Tennessee 37209-1048

   "i                     . DECLARE UNDER THE PENALTY {3F PERJURY, that the foregoing
informati is true and correct, and based upon first hand knowledge." Carter v. Clark. 616 F.2d 228
(1980) {28 U.S:C. $1746; declaration under penalty of perjury). "Further deponent says not."

EXF~ ]UTED ON:         day of January 2025. ~                      A"- f~
                                    CERTIFICATE OF SFit

                            hereby certify i mailed a true & exact copy of the foregoing Motion to Cure
and W1 ve Filing Defect to: (1) Law Office of Sherrod, Roe, Voight, & Harbison, (SRVH) C/O Bill
Harbison (2). Atty. Gen., Johnathon Skrmetti, P.O.Box 20207 Nash., Tenn. 37202; .(3) Office of the
Clerk, U.S. District Court-house, 719 Church Street, Suite 1300, Nashville, Tenn. 37203; and {4) U.S.
District Court, i I I S. Highland Ave. # 262, Jackson, Tennessee 38301; via pre-paid U.S. mail on this
the 16 — day of January 2025.




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             Nashville, Tennessee 37209-1048
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                                         Office of the Clerk                              JAN 211015
                                      U.S. Federal Courthouse
                                                                                    US DISTRICT COURT
                                    719 Church Street, Suite 1300                     MID DIST TENN
                                     Nashville, Tennessee 37203




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